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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                                               )     Case No. 1:08CR00024-12
                                               )
v.                                             )            OPINION
                                               )
PAUL ALSTON VAUGHN, JR.,                       )     By: James P. Jones
                                               )     United States District Judge
                 Defendant.                    )

      Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia,
for United States; Paul Alston Vaughn, Jr., Pro Se Defendant.

       The defendant, Paul Alston Vaughn, Jr., proceeding pro se, filed a Motion to

Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C.A. § 2255 (West

Supp. 2012). Among other claims, Vaughn alleged that, in light of United States v.

Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc), Vaughn’s sentence was

unlawfully enhanced to life imprisonment under 21 U.S.C.A. §§ 841(b)(1)(A) and

851 (West 1999 & Supp. 2012).

       In response to the § 2255 motion, the government concedes that Vaughn is

entitled to relief as to his Simmons claim and recommends that Vaughn be

resentenced without the enhancement. Specifically, the government agrees that

two prior convictions for felony drug offenses in North Carolina which were used
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to enhance Vaughn’s mandatory minimum sentence to life imprisonment do not

qualify under Simmons as predicate offenses for such an enhancement.

      Based on the government’s concession I will grant Vaughn’s § 2255 motion

as to his claim under Simmons that he should be resentenced. I will dismiss

Vaughn’s remaining § 2255 claims without prejudice to Vaughn’s refilling these

claims in a later § 2255 motion following resentencing, if necessary. See, e.g.,

United States v. Killian, 22 F. App’x 300, 301 (4th Cir. 2001) (unpublished).

      A separate Final Order will be entered herewith.


                                              DATED: May 23, 2012

                                              /s/ James P. Jones
                                              United States District Judge




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